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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION

 BRIAN J. HUFFMAN, as Administrator of            )
 the Estate of ELIUD MONTOYA-ARCOS,               )
 Deceased,                                        )
                                                  )
        Plaintiff,                                )
                                                  )
                v.                                ) No. 18-cv-00184
                                                  )
 THE DAVEY TREE EXPERT COMPANY;                   )
 WOLF TREE, INC; MARJORIE L.                      )
 CONNER; CHRISTOPHER BRANCH;                      )
 OSCAR CRUZ; and PABLO RANGEL,                    )
 also known as Pablo Rangel-Rubio,                )
                                                  )
        Defendants.                               )

           JOINT CONSENT MOTION FOR EXTENSION OF TIME TO FILE
               MOTIONS TO DISMISS THE AMENDED COMPLAINT

       Defendants The Davey Tree Expert Company (“Davey Tree”) and Wolf Tree, Inc. (“Wolf

Tree,” and collectively with Davey Tree, “Company Defendants”), Marjorie L. Conner

(“Conner”), Christopher Branch (“Branch”) and Oscar Cruz (“Cruz,” and collectively with

Company Defendants, Conner, and Branch, the “Defendants”) respectfully and jointly move this

Court to extend the time for Defendants to file their motion to dismiss the amended complaint.

Plaintiff has consented to the relief requested in this motion.

       The Defendants originally filed their motions to dismiss the amended complaint on August

14, 2023. (ECF Nos. 14144.) On September 11, 2023, Plaintiff filed a consolidated response to

the motions to dismiss filed by the Defendants. (ECF No. 157.) On October 11, 2023, the

Defendants filed their replies. (ECF Nos. 168, 170, 171, 172.)

       On March 27, 2024, Judge R. Stan Baker issued an order directing Plaintiff to file the

required version of the RICO statement form pursuant to Local Rule 9.1 within 14 days; dismissing

                                                  1
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Defendants’ motions to dismiss the amended complaint, without prejudice and with leave to refile

once Plaintiff filed the required RICO statement form; and setting a deadline of 21 days after

Plaintiff filed his RICO statement form for Defendants to file motions to dismiss the amended

complaint. (ECF No. 193.)

        On April 4, 2024, Plaintiff filed a motion for extension of time to file the required RICO

statement form. (ECF No. 194.) Judge Brian K. Epps granted the motion on April 2, 2024. (ECF

No. 195.) On April 24, 2024, Plaintiff filed a document styled as “Plaintiff’s RICO Statement,”

which is 108 pages in length. (ECF No. 196.)

        On May 8, 2024, the Company Defendants filed a motion for a Clerk’s extension of time

to file their motion to dismiss the amended complaint. (ECF No. 198.) Judge Brian K. Epps

granted the motion on May 10, 2024. (ECF No. 199.) The Company Defendants’ motion to

dismiss the amended complaint is now due on May 31, 2024. Id.

        Defendants have now met and conferred with counsel for Plaintiff concerning a further

extension, to which Plaintiff consented.1 This request is the Company Defendants’ second request

for an extension of time and the other defendants’ first request for an extension of time. The

Defendants are requesting the additional time to review, analyze and respond to Plaintiff’s RICO

statement which, as referenced above, is 108 pages in length.

        The Defendants respectfully request, with Plaintiff’s consent, that the Court extend the

deadline by which all Defendants must file their motions to dismiss the amended complaint up to

and including June 14, 2024.



1
         The Company Defendants’ motion for a Clerk’s extension erroneously stated that counsel for the
Plaintiff had not responded to outreach to discuss whether Plaintiff would consent to an extension of time.
(ECF No. 198.) When in fact Plaintiff’s counsel sent a return email, to the Company Defendants’
counsel’s email, inviting a call, on the afternoon of May 8th. Plaintiff’s counsel has also advised that,
earlier, a return call was made back to Company Defendants’ counsel on May 7th.
                                                    2
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Dated:   May 13, 2024
         New York, New York

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                                     3
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                                          Attorneys for Defendant Oscar Cruz

Consented to by:

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       Attorneys for Plaintiff




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                                CERTIFICATE OF SERVICE

       I certify that on this day, I caused the foregoing to be served through the Court ECF

system upon all counsel registered to receive service, and via regular U.S. mail on the following:

       Pablo Rangel-Rubio (Pro Se)
       Register No. 22405-021
       USP Atwater
       U.S. Penitentiary
       P.O. Box 019001
       Atwater, CA 95301

This 13th day of May, 2024

                                             KASOWITZ BENSON TORRES LLP

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                        IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   SAVANNAH DIVISION

 BRIAN J. HUFFMAN, as Administrator of          )
 the Estate of Eliud Montoya-Arcos,             )
 Deceased,                                      )
                                                )
        Plaintiff,                              )
                                                )
                v.                              ) CV 481-184
                                                )
 THE DAVEY TREE EXPERT COMPANY,                 )
 et al.,                                        )
                                                )
        Defendants.                             )

                                    [PROPOSED] ORDER

       The Court GRANTS Defendants The Davey Tree Expert Company, Wolf Tree, Inc.

Marjorie L. Conner, Christopher Branch and Oscar Cruz’s joint consent motion for an extension

of time to file their motions to dismiss the amended complaint. (Doc. No. 200.) The new deadline

to file motions to dismiss is extended through and including June 14, 2024.

       SO ORDERED this _______ day of May, 2024, at Augusta, Georgia



                                            ______________________________________
                                            BRIAN K. EPPS
                                            UNITED STATES MAGISTRATE JUDGE
                                            SOUTHERN DISTRICT OF GEORGIA




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